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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Ronnie R Ceasar

v.                                               Case Number: 4:20−cv−00436

Telecheck Services, et al.



                               NOTICE OF RESETTING

A proceeding has been set in this case as to Telecheck Services as set forth below.

Before the Honorable Frances H Stacy
PLACE:
United States District Court
515 Rusk Ave
Houston, TX


DATE: 8/25/2020
TIME: 10:00 AM
TYPE OF PROCEEDING: Initial Conference


Date: May 26, 2020                                           David J. Bradley, Clerk
